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 7
                        IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                               EASTERN DISTRICT OF CALIFORNIA
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10
     UNITED STATES OF AMERICA,                   )       No. 2:12-CR-00048 TLN
                                                 )
11
                                                 )       STIPULATION REGARDING
           Plaintiff,                            )       EXCLUDABLE TIME PERIODS UNDER
12
                                                 )       SPEEDY TRIAL ACT; FINDINGS AND
     v.                                          )       ORDER
13
                                                 )
     PAVEL YAKIMENKO                             )
14
                                                 )
     NIKOLAY YAKIMENKO                           )
15   YURIY KALTAKCHI, AND                        )
     SVETLANA KRAMARENKO                         )
16
                                                 )
                                                 )
17         Defendants.
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19

20                                       STIPULATION
21         Plaintiff United States of America, by and through its counsel of record, and the
22   defendants, by and through each counsel of record, hereby stipulate as follows:
23         1.       By previous order, this matter was set for status on November 7, 2013.
24         2.       By this stipulation, the defendants now move to continue the status
25   conference until January 16, 2014, and to exclude time between November 7, 2013, and
26   January 16, 2014, under Local Code T4. Plaintiff does not oppose this request.
27         3.       The parties agree and stipulate, and request that the Court find the
28   following:


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 1            a.       The government has represented that the discovery associated with this case
 2   includes approximately 2,722 pages of investigative reports and related documents in
 3   electronic form. All of this discovery has been either produced directly to counsel and/or
 4   made available for inspection and copying.           Additional discovery requested by the
 5   defense has also been provided. Additional requests for additional discovery are being
 6   considered by the government.
 7            b.       Counsel for the defendants desire additional time to consult with their
 8   respective clients, to review the current charges, to conduct investigation and research
 9   related to the charges, to review and copy discovery for this matter, to discuss potential
10   resolutions with their clients, to prepare pretrial motions, and to otherwise prepare for
11   trial.
12            c.       Counsel for the defendants believe that failure to grant the above-requested
13   continuance would deny them the reasonable time necessary for effective preparation,
14   taking into account the exercise of due diligence.
15            d.       The government does not object to the continuance.
16            e.       Based on the above-stated findings, the ends of justice served by continuing
17   the case as requested outweigh the interest of the public and the defendants in a trial
18   within the original date prescribed by the Speedy Trial Act.
19            f.       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §
20   3161, et seq., within which trial must commence, the time period of November 7, 2013,
21   to January 16, 2014, inclusive, is deemed excludable pursuant to 18 U.S.C.§
22   3161(h)(7)(A), B(iv) [Local Code T4] because it results from a continuance granted by
23   the Court at defendant’s request on the basis of the Court's finding that the ends of justice
24   served by taking such action outweigh the best interest of the public and the defendants in
25   a speedy trial.
26            4.       Nothing in this stipulation and order shall preclude a finding that other
27   provisions of the Speedy Trial Act dictate that additional time periods are excludable
28   from the period within which a trial must commence.


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 1         IT IS SO STIPULATED.
 2
     Dated: November 4, 2013                           U.S. ATTORNEY
 3

 4                                               by:   /s/ David D. Fischer for
                                                       MICHELLE BECKWITH
 5                                                     Assistant U.S. Attorney
                                                       Attorney for Plaintiff
 6

 7
     Dated: November 4, 2013                           /s/ David D. Fischer
 8                                                     DAVID D. FISCHER
                                                       Attorney for Defendant
 9
                                                       NIKOLAY YAKIMENKO
10
     Dated: November 4, 2013                           /s/ David D. Fischer for
11                                                     OLAF HEDBERG
                                                       Attorney for Defendant
12
                                                       PAVEL YAKIMENKO
13
     Dated: November 4, 2013                           /s/ David D. Fischer for
14                                                     STANLEY KUBOCHI
15
                                                       Attorney for Defendant
                                                       YURIY KALTACHI
16
     Dated: November 4, 2013                           /s/ David D. Fischer for
17                                                     TIMOTHY ZINDEL
18
                                                       Attorney for Defendant
                                                       SVETLANA KRAMAREKNO
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20

21                                      ORDER

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23   IT IS SO FOUND AND ORDERED this 5th day of November, 2013.

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27                                      Troy L. Nunley
                                        United States District Judge
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